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5
                            UNITED STATES DISTRICT COURT
6
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
7
                                SAN FRANCISCO DIVISION
8

9    IN RE: CATHODE RAY TUBE (CRT)           )   Case No. 3:07-cv-05944-JST
     ANTITRUST LITIGATION,                   )
10                                           )   MDL No.: 1917
                                             )
11   THIS DOCUMENT RELATES TO:               )
                                             )   AMENDED DECLARATION OF
12   ALL DIRECT PURCHASER ACTIONS            )   ZHAOJIE WANG IN SUPPORT OF
     ALL INDIRECT PURCHASER ACTIONS          )   IRICO DEFENDANTS’ MOTIONS
13                                           )   TO DISMISS FOR LACK OF
                                             )   JURISDICTION
14                                           )
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     AMENDED DECL. OF ZHAOJIE WANG IN                            CASE NO. 3:07-CV-05944-JST
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1            I, Zhaojie Wang, declare as follows:

2            本人，王昭杰，特此声明如下：

3            1.      I make this declaration in support of Irico Group Corporation (“Irico Group”) and

4    Irico Display Devices Co., Ltd.’s (“Irico Display”) motions to dismiss. I have personal

5    knowledge of the facts set forth herein. If called as a witness, I could and would competently

6    testify to the facts below.

7                    我做此声明是为了支持彩虹集团公司（以下简称“彩虹集团”）和彩虹显示

8    器件股份有限公司（以下简称“彩虹股份”）的关于管辖权问题的动议。我对本声明所列

9    的事实具有个人认知。如果被要求作证，我能够并且将会胜任地对下述事实作出证明。

10           2.      I am the General Manager of Irico Smart Lighting Company, which is a

11   controlled subsidiary of Irico Group. Irico Group holds 80% of the shares of Irico Smart

12   Lighting Company, and another controlled subsidiary of Irico Group, Hefei Rainbow Blue-Ray

13   Technology Company, holds the remaining 20% of this company.

14                   我是中电彩虹智慧照明科技有限公司的总经理，该公司是彩虹集团的控股

15   子公司。彩虹集团持有该公司 80%的股份，彩虹集团控股的另一个子公司，合肥彩虹蓝光

16   科技公司，持有该公司剩余的 20%的股份。

17           3.      I have been employed by Irico Group or its subsidiary companies for more than

18   25 years. I first joined Irico Group in July of 1991 as an employee of Plant No. 1, which was then

19   producing 14” Color Picture Tubes (CPTs) for use in the production of televisions.

20                   我在彩虹集团或其子公司的工作超过了 25 年。我最初于 1991 年 7 月加入彩

21   虹集团并成为彩管一厂的一名员工。彩管一厂当时生产电视机中使用的 14 寸彩色显像管。

22           4.      In March 1993, I became a sales person in the Sales Department of Irico Group,

23   with responsibility for selling both CPTs and Color Display Tubes (CDTs). I became a Director

24   in the Sales Department of Irico Group in March 2003 and remained in that position until May

25   2010. Thus, at the time that the complaint in this case was filed in November 2007, I was a

26   Director in the Sales Department of Irico Group. After 2009, I became the Assistant to the

27   General Manager of the Sales Department of Irico Group.

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1                   在 1993 年 3 月，我成为了彩虹集团销售公司的一名业务员，主要负责销售

2    CPTs 和 CDTs。在 2003 年 3 月，我成为了彩虹集团销售部的部长，并且在此职位上一直

3    到 2010 年 5 月。因此，在 2007 年 11 月本案最初诉状提交时，我是彩虹集团销售部的部

4    长。大约在 2009 年后，担任销售公司总经理助理。

5           5.      From at least July 1991 through January 2005, Irico Group was responsible for all

6    sales of CPTs and CDTs sold by Irico Group and its subsidiaries. Irico Display did not have a

7    separate sales group and did not execute any sales of CRTs. All sales of products manufactured

8    by Irico Display were carried out by Irico Group.

9                   至少从 1991 年 7 月到 2005 年 1 月期间，彩虹集团负责其本身和其所有子公

10   司的 CPTs 和 CDTs 的销售。彩虹股份没有自己独立的销售团队，所以也不从事 CRTs 的

11   实际销售。彩虹股份生产的所有产品都由彩虹集团代为销售。

12          6.      Following my tenure in the Sales Department of Irico Group, in May 2010 I was

13   transferred to Irico Group Electronics Co. Ltd. (“Irico Electronics”) to become the Deputy

14   General Manager of Sales, where my focus was on the sale of solar panels and related products.

15   In November 2007, Irico Electronics held all of the shares of Irico Display owned indirectly by

16   Irico Group, which comprised 41.36% of the outstanding shares of Irico Display.

17                  在彩虹集团销售公司任职期间，我在 2010 年 5 月调动到彩虹集团电子股份

18   有限公司（以下简称“彩虹电子”）并成为了营销部副总经理。我的工作重心是负责太阳

19   能电池板和相关产品的销售。在 2007 年 11 月，彩虹电子持有彩虹股份 41.36%的股份，

20   并间接被彩虹集团持有。

21          7.      I became the General Manager of Sales for Irico Electronics in January 2011 and

22   remained in that role until July 2013 when I was transferred to Irico Smart Lighting to assume my

23   current position.

24                  我在 2011 年 1 月成为彩虹电子营销部的经理，并且在此职位上一直到 2013

25   年 7 月，后来被调动到中电彩虹智慧照明科技有限公司担任目前的职务。

26          8.      My appointments to Irico Electronics and Irico Smart Lighting were directed by

27   the SASAC-appointed management of Irico Group. Irico Group management issued instructions,

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1    through the Irico Group Human Resources Department, to Irico Electronics and Irico Smart

2    Lighting to furnish my employment in the positions that Irico Group directed.

3                   我在彩虹电子和中电彩虹智慧照明科技有限公司的任职是受由国资委任命

4    的彩虹集团的管理层所指示的。彩虹集团管理层通过其人力资源部向彩虹电子和中电彩

5    虹智慧照明科技有限公司发出指示，来完成我在这两个公司的职位的任命。

6           9.      Based on my experience throughout my time at Irico Group and Irico Electronics,

7    this practice was common to all Irico Group companies, including Irico Display. The

8    management of Irico Display was appointed directly by the SASAC-appointed management of

9    Irico Group. The management positions of Irico Display that were appointed by Irico Group

10   included the Chinese equivalent of all “Chief” positions (e.g., Chief Executive Officer, Chief

11   Financial Officer, etc.) as well as all Directors and Associate Directors of Departments (e.g.,

12   Human Resources Department, Finance Department and Operation Department).

13                  根据我在彩虹集团和彩虹电子的工作经历，这样的操作在彩虹的公司中，

14   包括彩虹股份，是非常常见的。彩虹股份的管理层是由国资委任命的彩虹集团的管理层

15   来直接任命的。由彩虹集团任命的彩虹股份的管理层职位包括中文中所指的所有高层

16   （例如，总经理，财务总监等），以及公司所有部门的部长和副部长。

17          10.     Although by November 2007 the majority of the shares of Irico Display were

18   traded publicly, Irico Group controlled Irico Display and did not seek or require any separate

19   authorization from shareholders or the Board of Directors of Irico Display to exercise control and

20   appoint the management of Irico Display.

21                  尽管在 2007 年 11 月，彩虹股份的多数股份是在市场上流通的，但是彩虹

22   集团控制着彩虹股份，而且没有也不需要寻求彩虹股份其他股东或董事会的批准来控制

23   和任命彩虹股份的管理层。

24          11.     Moreover, Irico Display was required to submit regular financial, operational, and

25   investment reports to Irico Group for approval. Also, all of Irico Display’s financial results were

26   consolidated into Irico Group’s financial statements and formed part of the basis for Group’s

27   mandatory after-tax payments to SASAC and to the Chinese Ministry of Finance.

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1                   而且，彩虹股份必须定期提交财务、经营和投资报告给彩虹集团批准。彩

2    虹股份所有的经营业绩都要合并到彩虹集团的财务报表中，并成为彩虹集团向国资委和

3    财政部上缴税后收入的一部分。

4           12.     Based on my work at the Sales Department of Irico Group, I am not aware of any

5    sales of any Irico products to the United States. With regard to CRTs (including both CPTs and

6    CDTs) made by Irico Group companies, neither Irico Group nor Irico Display, nor any other

7    subsidiary of Irico Group sold any CRTs to the United States at any time from 1995-2007. Also,

8    neither Irico Group nor Irico Display, nor any other subsidiary of Irico Group, sold any finished

9    products (i.e., TVs or computer monitors) containing CRTs made by Irico Group companies to

10   the United States at any time from 1995-2007.

11                  根据我在销售公司的工作经历，我从未发现有彩虹的产品销往美国。从

12   1995 年到 2007 年期间，针对彩虹所有公司生产的 CRTs（包括 CPTs 和 CDTs），彩虹集

13   团，彩虹股份和彩虹集团的任何子公司均没有将其销往美国。另外，从 1995 年到 2007

14   年期间，彩虹集团，彩虹股份和彩虹集团的任何子公司均没有将含有彩虹的任何公司生

15   产的 CRTs 的最后成品（例如，电视机或电脑显示器）销往美国。

16          13.     Employees of the Sales Department of Irico Group had geographic responsibility

17   as well as product responsibility. Irico Group sold the vast majority of its CRTs within China,

18   with only limited sales outside of China. No sales personnel of the Irico Group Sales Department

19   were assigned to sell CRT products to the United States and no sales employees were authorized

20   to do so.

21                  彩虹集团销售公司的员工既有地域的职责也有产品的职责。彩虹集团绝大

22   多数的销售都在中国，只有少量的出口。彩虹集团销售公司的销售人员没有被派遣销售

23   CRT 产品到美国，也没有员工被授权这样做。

24          14.     Moreover, neither Irico Group nor Irico Display, nor any other subsidiary of Irico

25   Group, ever manufactured televisions. Irico Group companies manufactured only the CPTs used

26   to produce televisions and a small number of CDTs, not the finished products themselves.

27                  而且，彩虹集团，彩虹股份和彩虹集团的任何子公司都没有生产过电视机。

28   彩虹集团的所有公司生产的只有用于生产电视机的 CPTs，及少量的 CDTs。
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1           15.     Likewise, neither Irico Group nor Irico Display, nor any other subsidiary of Irico

2    Group, ever manufactured computer monitors. These companies manufactured only a small

3    number of CDTs used to make computer monitors, not the finished products themselves.

4                   同样的，彩虹集团，彩虹股份和彩虹集团的任何子公司都没有生产过电脑

5    显示器。这些公司只生产过少量用于制造电脑显示器的 CDTs，而非最终成品。

6           16.     To be clear on the latter point, Irico Group was a party to one joint venture (JV)

7    that made computer monitors. In approximately 1996, Irico Group entered into a JV with a

8    Taiwanese company named HuangQi. The JV established a facility in China to assemble

9    computer monitors. The name of the JV was the Irico HuangQi Company. The JV assembled

10   monitors utilizing both Irico CDTs and CDTs purchased from other CDT manufacturers. The JV,

11   however, was very unsuccessful and was dissolved at a total loss to Irico in around 2001.

12                  上一个陈述的更清楚的阐述是，彩虹集团曾经是一个制造电脑显示器的合

13   资公司的股东。在大约在 1996 年，彩虹集团与台湾一家叫皇旗的公司成立了一个合资公

14   司。该合资公司在中国建立了工厂用来组装电脑显示器。该合资公司的名字是彩虹皇旗

15   公司。该合资公司组装电脑显示器时使用了彩虹制造的 CDTs 和其他 CDTs 制造商的产品。

16   但是，这个合资公司经营不善，并于 2001 左右因给彩虹造成资产损失而解散。

17          17.     The JV manufactured only 14”, 15” and 17” CDT Monitors. These were sold by

18   the JV in China or Taiwan. The sales of JV’s products in China was handled by the JV itself, and

19   the sales made to other regions or countries (including Taiwan) was handled by a Hong Kong

20   subsidiary of HuangQi, the Taiwanese partner of the JV.

21                  该合资公司只生产含有 14 寸、15 寸和 17 寸 CDT 的显示器。这些产品被销

22   往中国或台湾。国内销售由该公司销售团队完成，海外销售（包括在台湾的销售）由皇

23   旗设在香港的子公司负责。

24          18.     As an employee of Irico Group and its subsidiaries over the past 25 years,

25   including many years in supervisory and managerial roles, I have knowledge of the formation,

26   ownership, and control of Irico Group and Irico Display by the Chinese government. In

27   preparation for making this declaration, I reviewed the exhibits attached to the Declaration of

28   Stuart C. Plunkett in Support of Irico Defendants’ Motions to Dismiss for Lack of Subject Matter
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1    Jurisdiction (Dkt. No. 5312-4) to confirm my understanding of the matters stated in the following

2    paragraphs.

3                   作为一个在彩虹集团和其子公司中工作了 25 年的员工，包括担任领导和管

4    理职位很多年的经历，我了解彩虹集团和彩虹股份的成立、股权以及受中国政府控制的

5    情况。在准备这份证言的过程中，我审阅了 Stuart C. Plunkett 用来支持彩虹被告关于管辖

6    权缺失的动议的证言中的附件，用来证实我对下面各段文字中叙述的事项的理解。

7           19.     Irico Group is a Chinese company with its principal place of business at 1

8    Caihong Rd., Xianyang City, Shaanxi Province, 712021, People’s Republic of China.

9                   彩虹集团是一家中国公司，它的主要营业地位于中国陕西省咸阳市彩虹路

10   1 号，邮编 712021。

11          20.     Irico Group was established on March 16, 1989, in Xianyang, Shaanxi Province,

12   with the approval of the Chinese Ministry of Machinery and Electronics Industry. Irico Group

13   was formed out of the wholly state-owned assets of the 4400 Plant and classified as an enterprise

14   owned by the whole people of China.

15                  彩虹集团经中国机械电子工业部的批准于 1989 年 3 月 16 日成立。彩虹集团

16   是在 4400 厂国有资产的基础上成立，并且被归类为全民所有制企业。

17          21.     As part of state-directed reform under China’s Seventh Five-Year Plan, the

18   Chinese government established Irico Group to aid in China’s national economic development

19   by responding to the need of the Chinese people for color televisions.

20                  作为中国国家七五计划的一部分，中国政府建立彩虹集团，从而通过满足

21   人民对彩色电视的需求来促进中国经济的发展。

22          22.     At the time the original complaints were filed in this case in November of 2007,

23   Irico Group was a state-owned enterprise wholly owned by the State Council, which is the

24   highest body of executive government of the People’s Republic of China. Irico Group was

25   managed directly by the State-owned Assets Supervision and Administration Commission

26   (“SASAC”), a department of the State Council.

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1                   在 2007 年 11 月本案最初的诉状提交的时候，彩虹集团是一个由国务院全

2    资拥有的企业。国务院是中华人民共和国最高行政机构。彩虹集团当时由国务院下属的

3    国有资产监督管理委员会（以下简称“国资委”）直接管理的。

4           23.     Irico Group has held the status of a wholly state-owned company under Chinese

5    law from its creation to the present.

6                   彩虹集团从成立至今一直保持着中国法下国有独资企业的身份。

7           24.     In 2007, Irico Group was subject to the direct management, supervision, and

8    control of SASAC and subject to supervision of other departments of the State Council, including

9    the Ministries of Finance and Personnel.

10                  在 2007 年，彩虹集团受到国资委的直接管理、监督和控制，并且也受国务

11   院其他部门的监督，包括财政部和人事部。

12          25.     As a state-owned enterprise in 2007, Irico Group undertook many public service

13   obligations. For example, Irico Group provided public education, hospitals, and local police, and

14   aided in the development of poor and rural communities that the government assigned to Irico

15   Group. These services were set up in Xianyang, Shaanxi Province. Irico Group provided these

16   services until 2009, when the services were transitioned to the local government pursuant to

17   reform plans approved by SASAC.

18                  在 2007 年作为一个国有企业，彩虹集团承担了很多社会服务职能。例如，

19   彩虹集团提供公共教育、医院和地方警察，而且扶助政府分配的贫困农村的发展。这些

20   社会服务都在陕西省咸阳市提供。彩虹集团一直提供这些社会服务直到 2009 年这些社会

21   服务根据国资委批准的改革方案而转交给了地方政府为止。

22          26.     At all times, Irico Group has received its funding solely from the Chinese

23   government. Specifically, Irico Group was funded by the Ministry of Finance of the Chinese

24   central government, provincial government, and city governmental entities. All external funding

25   was received from government sources. No funding was ever received from non-governmental

26   sources. The governmental entities provided funding to Irico Group for developmental

27   requirements, including new plant setup, research and development, and technology upgrades.

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1                    一直以来，彩虹集团都只从中国政府获得财政支持。具体来说，彩虹集团

2    曾经从国家财政部、省级政府和市级政府获得过财政支持。所有的外部财政支持都是从

3    政府来的，没有从非政府渠道获得过。政府机构为彩虹集团提供财政支持是满足它的发

4    展需要，包括建立新工厂，技术研发和技术更新。

5            27.     Irico Group’s budget was approved annually by SASAC, the Ministry of Finance

6    or the Ministry of Electronics Industry. Its budget consisted of government funds appropriated to

7    Irico Group for various purposes. Irico Group’s annual budget, as approved by SASAC, the

8    Ministry of Finance or the Ministry of Electronics Industry, included compilations of the budgets

9    of all of its subsidiaries, including Irico Display.

10                   彩虹集团每年的预算都取得了财政部、电子工业部或国资委的批准。它的

11   预算包括政府划拨给彩虹集团的用于各种目的的资金。彩虹集团每年经国资委、财政部

12   或电子工业部批准的预算是包含了彩虹集团各个子公司的预算，其中包括彩虹股份的预

13   算。

14           28.     All major operating activities, financial policies, and appointment or dismissals of

15   senior executives of Irico Group were directly managed by SASAC. SASAC would send an

16   official notice to appoint and remove any directors or management of Group.

17                   彩虹集团所有的主要经营活动、财务政策和高级管理层的任免都由国资委

18   直接管理。国资委会直接向彩虹集团发出正式通知来任免其董事或管理层。

19           29.     Irico Group and all of its subsidiaries (including Irico Display) needed SASAC’s

20   approval for any corporate reforms, restructuring, establishing new subsidiaries, mergers with

21   other companies, public offerings, issuance of new shares, and establishing joint ventures. For

22   example, Irico Group needed SASAC’s approval for the formation and initial public offering of

23   Irico Electronics in 2004.

24                   彩虹集团和其所有的子公司（包括彩虹股份）需要国资委的批准来从事公

25   司改革、重组、建立新的子公司、与其他公司合并、公开发行股份、增发新股和建立合

26   资企业的活动。例如，彩虹集团需要国资委的批准在 2004 年成立彩虹电子并公开发行其

27   股份。

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1           30.     As another example, Irico Display was in danger of bankruptcy in 2004 due to a

2    precipitous drop in CRT sales. Irico Display’s bankruptcy would have had a detrimental impact

3    on the Chinese economy, resulting in the unemployment of numerous workers. To avoid this,

4    SASAC intervened and approved a plan of reorganization by Irico Group that restructured and

5    streamlined Irico Display’s operations. The Ministry of Finance supplied funds to support the

6    plan of reorganization, which involved shuttering old manufacturing lines, transferring some

7    employees to other state-owned enterprises, and paying for early retirements. Because of this

8    government intervention, Irico Display was the only CRT manufacturer in China to avoid

9    bankruptcy.

10                  还有一个例子是，在 2004年彩虹股份由于 CRT销量的骤减而面临破产的危

11   险。彩虹股份的破产会对中国的经济形成危害性的影响，造成大量工人失业。为了避免

12   这一情况发生，国资委干预并批准了彩虹集团的一个重组方案，用来重组和优化彩虹股

13   份的经营。财政部也为该重组方案提供了资金支持，包括淘汰旧的生产线、把一些员工

14   转移到其他国有企业和给部分员工支付一定的费用让其提前退休。由于这样的政府干预，

15   彩虹股份是当时中国唯一没有破产的 CRT 生产商。

16          31.     From 2002 to 2013, SASAC dispatched supervisory panels to Irico Group, which

17   were resident in Irico Group’s headquarters. The supervisory panels remained on-site and

18   supervised the execution of Irico Group’s strategic plan, the financial performance of the

19   company, and performance of management, including for issues of ethics and integrity. The

20   supervisory panel would collect this information on Irico Group’s operations and personnel and

21   report it to SASAC.

22                  从 2002 年到 2013 年，国资委派遣监事会到彩虹集团，并驻扎在彩虹集团

23   的总部。监事会一直存在于彩虹集团，并监督它的发展战略、财务业绩和管理层的表现，

24   包括管理层的道德品质。监事会会收集彩虹集团的经营和人事方面的信息，并报告给国

25   资委。

26          32.     Each member of Irico Group’s management team prepared their own annual

27   performance reports and submitted them to SASAC. SASAC determined next year’s

28   compensation for each person based on this report, as well as the financial performance of Group.
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1    Directors and officers of Irico Group also had to complete forms to submit to SASAC detailing

2    their social relationships and the condition of their real estate investments and all other

3    investments and assets.

4                   彩虹集团管理层的每个成员都会准备他们各自的每年述职报告，并提交给

5    国资委。国资委根据这些报告及公司经营业绩来决定这些管理层成员下一年的工资。彩

6    虹集团的董事和经理人也必须填写关于其社会关系、不动产状况和其他财产和投资状况

7    的表格，并提交给国资委。

8           33.     At the beginning of every year, Irico Group was required to send a report to

9    SASAC that included Irico Group’s annual plan, budget, investment plan, and plans for

10   restructuring or other major business activities. These plans included reports submitted by Irico

11   Display to Irico Group, which were attached to reports from Irico Electronics after it was created

12   in 2004. SASAC would either approve the report or ask for changes. In reviewing and approving

13   the consolidated report of Irico Group, SASAC was also approving the report and plans of Irico

14   Display and other Irico Group subsidiaries. Irico Group coordinated with SASAC in preparing

15   the report before formal submission.

16                  在每年年初，彩虹集团需要提交给国资委一份报告，报告内容包括彩虹集

17   团的每年发展方案、预算、投资方案和重组或其他重大活动的方案。这些方案包含了由

18   彩虹股份提交给彩虹集团的方案，并且在 2004 年彩虹电子成立以后包含在彩虹电子的每

19   年报告里。国资委在收到这些报告后，会作出批准或发回修改的指示。在审阅和批准彩

20   虹集团的合并报告时，国资委也同时批准了彩虹股份和彩虹集团其他子公司的报告和方

21   案。彩虹集团在这样的报告正式提交之前，会和国资委做沟通。

22          34.     Irico Group was restricted in transferring its state-owned assets by Chinese law

23   and regulations and required SASAC’s approval for any such transfer. Irico Group was required

24   to refer any major asset or property rights transfers to SASAC for approval.

25                  彩虹集团在转让国有资产时受到中国法律法规的限制，并且需要获得国资

26   委的批准。彩虹集团需要把重要资产或者财产权的转让提交国资委批准。

27          35.     Irico Group was responsible for achieving performance targets for maintenance

28   and appreciation of State-owned assets in accordance with government requirements.
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1                   根据中国政府的要求，彩虹集团负责实现经营上的目标从而保值和增值国

2    有资产。

3           36.     Irico Group was obligated to pay a set portion of its profits back to the

4    government, while the remainder was permitted to be reinvested to increase the value of Irico

5    Group’s state-owned assets.

6                   彩虹集团有义务把其利润的一部分上缴给政府，剩余的利润可以用于增加

7    彩虹集团持有的国有资产的价值。

8           37.     All management of Irico Group and Irico Display were required to be members of

9    the Chinese Communist Party. They were subject to the authority of the Party’s central

10   disciplinary committee, which could investigate and charge them for ethical violations or other

11   malfeasance. For potential crimes committed by Irico management, the disciplinary committee

12   of the Chinese Communist Party had authority to refer the violations to local prosecutors in

13   addition to imposing its own penalties.

14                  彩虹集团和彩虹股份的管理层都必须是中国共产党党员。他们要受到党内

15   纪律检查委员会的监督，并且党内纪律检查委员会会对其违反道德的行为和其他不正当

16   行为作出调查和处罚。对彩虹管理人员的刑事犯罪行为，中国共产党纪律检查委员会有

17   权在内部处罚这些行为的同时，把他们报告给地方检察院。

18          38.     Irico officials, including a former General Manager and a Deputy General

19   Manager of Irico Group, and a former General Manager and a Chief Accountant of Irico Display,

20   were disciplined by the committee and removed from the Chinese Communist Party. As part of

21   their penalty, they were disqualified from ever working again in the management of a

22   state-owned enterprise.

23                  彩虹管理层，包括彩虹集团的一个前总经理和一个前副总经理，和彩虹股

24   份的一个前总经理和一个前总会计师，曾经被中国共产党的纪律检查委员会纪律处分过，

25   并开除了党籍。作为对他们处罚的一部分，他们被剥夺了在其他国有企业担任管理层的

26   资格。

27          39.     Irico Display is a Chinese company with its principal place of business at 1

28   Caihong Rd., Xianyang City, Shaanxi Province, 712021, People’s Republic of China.
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1                   彩虹股份是一家中国公司，它的主要营业地位于中国陕西省咸阳市彩虹路

2    1 号，邮编 712021。

3             40.   Irico Display was established in 1992 by Irico Group and wholly state-owned

4    entities Shaanxi Electronics Industry Company, Shaanxi ICBC Trust and Investment

5    Corporation and Shaanxi PCBC Trust and Investment Corporation.

6                   彩虹股份是在 1992 年由彩虹集团和其他三家国有独资的公司-陕西省电子

7    工业总公司、中国工商银行陕西省信托投资公司和中国人民建设银行陕西省信托投资公

8    司联合发起成立的。

9             41.   As a collaboration founded and held by four wholly state-owned entities and

10   created with the approval of the Shaanxi Provincial Economic System Reform Committee, Irico

11   Display was set up as a wholly state-owned enterprise of the Chinese government.

12                  作为一个由陕西省经济体系改革委员会批准，并由 4 家国有独资企业联合

13   发起成立的公司，彩虹股份设立时是一个由中国政府全资拥有的公司。

14            42.   Irico Group was authorized, along with its fully state-backed investment entity

15   partners, to create Irico Display to increase the controlling power of state-owned assets through

16   leveraging and to meet the requirements for public offering.

17                  彩虹集团以及其他国有的投资人被授权成立彩虹股份是为了让国有资产增

18   加控制力，同时满足上市条件。

19            43.   Irico Display was tasked with the development and production of color picture

20   displays, parts, and raw materials.

21                  彩虹股份肩负着发展和生产彩色显像管，零部件和原材料的任务。

22            44.   At the time of filing of the original complaints in this case in November 2007,

23   Irico Display was owned 41.36% by Irico Electronics, which was in turn 75% owned by Irico

24   Group.

25                  在 2007 年 11 月本案诉状最初提交的时候，彩虹电子持有彩虹股份 41.36%

26   的股份，而彩虹集团持有彩虹电子 75%的股份。

27            45.   Irico Display was classified by SASAC as, and held the status of, a

28   state-controlled company under Chinese law, controlled by Group and supervised by SASAC
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1    and other departments of the State Council. Irico Display has held that status since the time of its

2    initial public offering in 1996 and continues to hold that status today.

3                      彩虹股份被国资委归类为中国法下的国有控股企业，被彩虹集团控制并受

4    国资委和国务院其他部门的监督。彩虹股份从 1996 年上市开始一直至今保持着国有控股

5    企业的身份。

6           46.        SASAC exercised control over Irico Display through its appointed management

7    at Irico Group.

8                      国资委通过其任命的彩虹集团的管理层来控制彩虹股份。

9           47.        Irico Display was at all times subject to the day-to-day control of Irico Group, and

10   thus control by the Chinese government, in all its business activities, financial policies, and

11   appointment of management.

12                     彩虹股份的经营活动、财务政策和管理层的聘任一直受到彩虹集团的日常

13   控制，从而受到中国政府的控制。

14          48.        Irico Group was listed as the “actual controller” of Irico Display pursuant to

15   Article 217(3) of the 2006 Chinese Company Law, which defines the term as “a person who is

16   able practically to govern the behavior of a company through investment relations, agreements or

17   other arrangements, although the person is not a shareholder of the company.”

18                     根据中国 2006 年公司法第 217（3）条的规定，彩虹集团是彩虹股份的“实

19   际控制人”。在该法条中，“实际控制人”被定义为“虽不是公司的股东，但通过投资关系、

20   协议或者其他安排，能够实际支配公司行为的人”。

21          49.        As “actual controller” of Irico Display, Irico Group controlled many day-to-day

22   decisions regarding Irico Display, and appointed the management that made all other decisions

23   for Irico Display.

24                     作为彩虹股份的“实际控制人”，彩虹集团控制着彩虹股份日常的决定，任

25   命彩虹股份负责决策的管理层。

26          50.        The SASAC-appointed management of Irico Group decided on the appointment

27   and removal of the management of Irico Display. To effect these decisions, Irico Group would

28   issue a formal letter to Irico Electronics and recommend the appointment or removal of Irico
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1    Display management. While styled as a “recommendation,” because the directors designated by

2    Irico Group to the Board of Irico Display constituted a majority of the Board of Irico Display,

3    such “recommendations” were followed by Irico Display in all instances.

4                   由国资委任命的彩虹集团的管理层决定了彩虹股份管理层的任免。为了作

5    出这样的决定，彩虹集团会向彩虹电子发出一份正式的信函，推荐彩虹股份管理层的任

6    免。尽管名为“推荐”，由于彩虹集团在该公司董事会占有多数席位，故这样的“推荐”都

7    会通过。

8           51.     Irico Group exercised complete control over Irico Display shareholder meetings.

9    Shareholders were required to be present, or to designate a proxy, to vote at these meetings.

10   There was no shareholder meeting at which Irico Group did not control a majority of voting

11   shares of Irico Display.

12                  彩虹集团对彩虹股份的股东会有绝对的控制。在开股东会时，股东必须出

13   席，或者委派代表参与投票。历史上没有出现过一次彩虹集团在彩虹股份的股东会上不

14   占投票多数的情况。

15          52.     Irico Group also selected Irico Display’s Board of Directors. Group would

16   propose a slate of directors through Irico Electronics, which Irico Display’s shareholders would

17   always put forward for election. Representatives of Irico Group would then appear at the Irico

18   Display shareholder meeting and vote directly for the slate it had proposed.

19                  彩虹集团还选任彩虹股份的董事会。彩虹集团会通过彩虹电子提出董事的

20   人选，彩虹股份股东会根据这个提议任命董事。彩虹集团的代表会出现在彩虹股份的股

21   东会上，并且直接把投票投给它提议的董事人选。

22          53.     Before the end of every year, Irico Display was required to submit financial,

23   operational, and investment reports for the next year to Irico Group for approval. Based on such

24   reports, Irico Group set up operational goals of Irico Display for the next year, signed

25   undertaking letters with the General Manager of Irico Display, and evaluated the performance of

26   Irico Display’s top management.

27
28
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1                   在每年底以前，彩虹股份必须把它下一年的财务、经营和投资报告提交给

2    彩虹集团批准。据此彩虹集团下达该公司来年的经营指标，并与其 CEO 签定责任书，对

3    该公司高管进行考核。

4           54.     The management of Irico Display was required to prepare performance reports

5    and send them to Irico Group for review and approval, which included forms on personal assets

6    requiring the same information that Irico Group submitted directly to SASAC. The

7    compensation of Irico Display’s management was determined based on these reports.

8                   彩虹股份的管理层必须准备述职报告并提交给彩虹集团审阅和批准。这些

9    报告中包括关于个人财产的表格，这和彩虹集团直接提交给国资委的信息是相同的。彩

10   虹股份管理层的工资也是根据这些报告来决定的。

11          55.     Major production changes by Irico Display, such as new assembly lines and

12   equipment, required direct approval by Irico Group.

13                  彩虹股份的主要生产变化，比如建立新的生产线和购买新设备，需要彩虹

14   集团直接批准。

15          56.     Irico Display required and received approval from the Shaanxi Province

16   state-owned asset supervision authorities for its initial public offering.

17                  彩虹股份的上市必须并且也取得了陕西省国有资产监督管理机构的批准。

18          57.     Irico Display was required to get approval from Irico Group for any transfer of

19   state-owned assets.

20                  彩虹股份在转让国有资产时必须取得彩虹集团的批准。

21          58.     Irico Group audited the financials of Irico Display every year, hiring an

22   accounting firm for this purpose. The National Audit Office, a department of the State Council,

23   also conducted audits of Irico Display as part of its authority over state-owned enterprises.

24   Private enterprises were not subject to such audits.

25                  彩虹集团每年会聘用会计师事务所来审计彩虹股份的财务。国家审计署，

26   国务院的一个部门，作为行驶其监督国有资产职权的一部分，也会对彩虹股份做审计。

27   私有企业不会面临这样的审计。

28
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1           59.     In addition to all of its initial funding received from the Chinese government and

2    wholly state-owned entities at the time of its formation, Irico Display also received significant

3    financial support from SASAC and the Ministry of Finance, including periodic government

4    appropriations allocated by SASAC through Irico Group for use by Irico Display for specific

5    projects.

6                   除了在最初成立的时候从国家和国有企业获得的资金支持以外，彩虹股份

7    也从国资委和财政部获得了大量的财政支持，这些拨款是国资委通过彩虹集团而划拨给

8    彩虹股份的，用于彩虹股份一些特定的项目。

9           60.     In 2007, for example, Irico Display received an allocation of over RMB 100

10   million in government funds for its thin-film-transistor liquid-crystal display glass substrate

11   project.

12                  举个例子，在 2007 年彩虹股份从政府收到了 1 亿人民币的拨款，用于支持

13   LCD 超薄玻璃面板的项目。

14          61.     Irico Display has historically carried a very large amount of debt, including in

15   2007. Irico Display borrowed significant funds directly from Irico Group, and Irico Group also

16   served as guarantor in every instance in which Display borrowed money from any other source.

17                  彩虹股份历史上背负了大量的债务，包括在 2007 年。彩虹股份从彩虹集团

18   借了大量的资金，而且彩虹集团也是彩虹股份从其他途径借款的担保人。

19          62.     Irico Display’s financial results were consolidated into Irico Group’s financial

20   statements and formed part of the basis for Irico Group’s mandatory after-tax payments to

21   SASAC and the Chinese Ministry of Finance.

22                  彩虹股份的财务表现也合并在彩虹集团的财务报表中，并且构成了彩虹集

23   团向国资委和财政部提交税后利润的一部分。

24          63.     The remainder of Irico Display’s profits were reinvested in its business operations

25   in order to increase the value of Irico Display’s State-owned assets.

26                  彩虹股份剩余的利润用于其业务发展以提高其所持有的国有资产的价值。

27          64.     Irico Display’s management was subject to the Chinese government’s mandates

28   for the integrity of state officials, relevant government anti-corruption provisions, and
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                                                    由 扫描全能王 扫描创建
